       Case 3:20-cv-02039-JPW Document 9-1 Filed 11/23/20 Page 1 of 15




                  UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ERIN SKALDE and                              )
JARROD SKALDE,                               )
                                             )
      Plaintiffs,                            )   Case No. 3:20-cv-02039-JPW
                                             )
v.                                           )   Hon. Jennifer P. Wilson
                                             )
LEMIEUX GROUP, L.P.,                         )
PITTSBURGH PENGUINS L.P.,                    )
AND CLARK DONATELLI,                         )
                                             )
      Defendants.                            )

                MEMORANDUM OF LAW IN SUPPORT OF
              DEFENDANTS’ PARTIAL MOTION TO DISMISS

      Plaintiffs Erin Skalde and Jarrod Skalde filed a five-count complaint against

Defendants Pittsburgh Penguins L.P. and Lemieux Group, L.P. (collectively, “the

Penguins”), and a former coach at Penguins’ minor league affiliate in Wilkes-Barre,

PA, Clark Donatelli,1 related to allegations that Mr. Donatelli assaulted Mrs. Skalde

on November 11, 2018. Specifically, the Skaldes have pled three causes of action

against the Penguins: negligent retention (Count III; Erin Skalde v. the Penguins),

violations of the Pennsylvania Whistleblower Law (“Whistleblower Law”) (Count

IV; Jarrod Skalde v. the Penguins), and loss of consortium (Count V; Jarrod Skalde

v. the Penguins).



1
      Undersigned counsel does not represent Mr. Donatelli.

                                         1
       Case 3:20-cv-02039-JPW Document 9-1 Filed 11/23/20 Page 2 of 15




      The Penguins cannot be held liable on any of these three claims as matter of

law. As a result, Counts III, IV, and V should be dismissed, with prejudice.

                           FACTUAL BACKGROUND2

      Jarrod Skalde is a former assistant coach for the American Hockey League’s

Wilkes-Barre/Scranton Penguins (“WBSP”), a minor league team affiliated with the

Pittsburgh Penguins L.P. Doc. 1 at ¶14.

      On or about November 11, 2018, the WBSP played a game in Providence,

Rhode Island. Doc. 1 at ¶ 24. After the game, Mr. Donatelli, the head coach for the

WBSP, invited the Skaldes out for dinner. Id. The Skaldes claim that after dinner,

Mr. Donatelli made unwelcome sexual advances towards Mrs. Skalde, allegedly

assaulting and battering her while the three waited for a car service to take them to

their hotel, and then again in the back seat of the car. Id. at ¶ 25-31.

      On June 21, 2019, Mr. Skalde reported the incident to the Penguins for the

first time by informing the organization’s Assistant General Manager. Doc. 1 at ¶42.

On June 25, 2019, the following Tuesday, the Penguin’s human resources leader

interviewed Mr. Skalde about his internal report. Id. at ¶46. Mr. Skalde was later

advised that the Penguins were terminating Mr. Donatelli’s employment. Id. at 52.

Mr. Donatelli departed the organization on Thursday, June 27, 2019. See Matt



2
      The facts set forth herein are taken from Plaintiffs’ Complaint and are
      accepted as true for the purposes of this motion only.

                                           2
       Case 3:20-cv-02039-JPW Document 9-1 Filed 11/23/20 Page 3 of 15




Vensel, Penguins Hire Calder Cup-Winning Coach Mike Vellucci After Clark

Donatelli Resigns, Pittsburgh Post-Gazette (Jun. 29, 2019, 6:05 PM),

https://www.post-gazette.com/sports/penguins/2019/06/29/Puttsburgh-Penguins-

hire-Mike-Vellucci-Clark-Donatelli-resigns-Calder-Cup/stories/201906290048.3

      In September 2019, Mr. Skalde’s power play duties were removed and, unlike

the new head coach and another assistant coach, he was not given a new computer

for work. Doc. 1 at ¶54-55.

      On May 5, 2020, nearly a year after Mr. Skalde notified the Penguins about

Mr. Donatelli’s alleged misconduct, the Penguins informed Mr. Skalde that his

position was being eliminated due to cutbacks necessitated by the COVID-19

pandemic. Doc. 1 at ¶58.




3
      Pursuant to Fed. R. Evid. 201(b)(2), in evaluating a Motion to Dismiss, the
      Court may look beyond the pleadings to “items subject to judicial notice.”
      U.S. v. Kindred Healthcare, Inc., 2020 U.S. Dist. LEXIS 115998 n.3 (E.D.
      Pa. June 29, 2020) (It is proper for the Court to take judicial notice of the
      public records, a complaint filed in a prior lawsuit, and various relevant news
      reports cited in Defendants’ Motion to Dismiss)(quoting Buck v. Hampton
      Twp. Sch. Dist., 452 F.3d 256, 260 (3d Cir. 2006). Courts may take judicial
      notice of news reports to evaluate “what was in the public realm” at a given
      time. See Benak ex rel. Alliance Premier Growth Fund v. Alliance Capital
      Mgmt. L.P., 435 F.3d 396, 401 n.15 (3d Cir. 2006).

                                         3
       Case 3:20-cv-02039-JPW Document 9-1 Filed 11/23/20 Page 4 of 15




                 STATEMENT OF QUESTIONS INVOLVED

      1.     Should the Court dismiss Counts III (negligent retention), IV

(violations of the Whistleblower Law), and V (loss of consortium) for failure to state

a claim, pursuant to Federal Rule of Civil Procedure 12(b)(6)?

                            STANDARD OF REVIEW

      A complaint should be dismissed when it fails to allege facts sufficient to state

a facially plausible claim for relief. Phillips v. Cty. of Allegheny, 515 F.3d 224, 234

(3d Cir. 2008) (citing Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)).

Although the court should accept all well-pleaded facts as true, it does not need to

accept legal conclusions disguised as facts. Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009) (citing Twombly, 550 U.S. at 555). To properly state a claim, a plaintiff must

“provide the ‘grounds’ of his ‘entitle[ment] to relief’ [which] requires more than

labels and conclusions, and a formulaic recitation of the elements of a cause of action

will not do.” Twombly, 550 U.S. at 555 (citation omitted).

                                   ARGUMENT

      As an initial matter, all claims against Lemieux Group should be dismissed

because the Skaldes’ only allegation concerning its involvement is that it owns the

Pittsburgh Penguins L.P. Doc. 1 at ¶ 4. Mere ownership of a subsidiary does not

justify imposing liability upon the parent. See Rice v. First Energy Corp., 339 F.

Supp. 3d 523, 532 (W.D. Pa. 2018).



                                          4
       Case 3:20-cv-02039-JPW Document 9-1 Filed 11/23/20 Page 5 of 15




      Moreover, each of the three counts asserted against the Penguins should be

dismissed because the Skaldes fail to state a claim for the reasons set forth below.

 I.   Count III: Mrs. Skalde cannot establish a claim for negligent retention.
      Mrs. Skalde seeks to hold the Penguins liable for Mr. Donatelli’s alleged

assault and battery on the theory of negligent retention.

      The standard for negligent retention differs depending on whether the conduct

occurred within the scope of the actor’s employment or outside the scope of the

actor’s employment. Fought v. City of Wilkes-Barre, Pa., No. 3:17-CV-1825, 2020

WL 3128301, at *33 (M.D. Pa. June 12, 2020).

      To make the determination of whether Mr. Donatelli was acting within the

scope of his employment, the Court should evaluate whether the conduct of which

he is accused: (1) is of the kind Mr. Donatelli was employed to perform; (2) occurred

substantially within the authorized time and space limits; (3) is actuated, at least in

part, by the purpose to serve the Penguins; and (4) if force is intentionally used by

Mr. Donatelli against another, whether the use of force is unexpectable by the

Penguins. Fought, 2020 WL 3128301 at *34 (emphasis added).

      Based on the allegations of the Complaint, it is clear that Plaintiffs cannot

establish all four elements and, therefore, Mr. Donatelli was acting outside the scope

of his employment. The conduct of which Mrs. Skalde – who was not an employee

of Defendants – complains was assault and battery. Mr. Donatelli was employed as



                                          5
       Case 3:20-cv-02039-JPW Document 9-1 Filed 11/23/20 Page 6 of 15




a head hockey coach. Doc. 1 at ¶ 5. It was certainly not his role to assault or batter

anyone and, to the extent he did so during his employment, it was not done for the

service of the Penguins.

      Because Mr. Donatelli was acting outside the scope of his employment, the

following standard applies:

      A plaintiff alleging negligent retention under Pennsylvania law, must
      demonstrate that her loss resulted from,

             (1) a failure to exercise ordinary care to prevent an
             intentional harm by an employee acting outside the scope
             of his employment, (2) that is committed on the
             employer’s premises, (3) when the employer knows or has
             reason to know of the necessity and ability to control the
             employee.

Fought, 2020 WL 3128301, at *33 (internal citations omitted). The allegations of

the Complaint make clear that the alleged assault did not occur on the Penguins’

premises. Mrs. Skalde specifically alleges that the assault occurred at a restaurant

and in a car after a road game in Providence, Rhode Island. Doc. 1 at ¶ 24-31. There

are no allegations of any other incident involving Mrs. Skalde at any other location.

With no assault or battery having occurred on the Penguins’ premises, Mrs. Skalde’s

negligent retention claim fails. See Kovach v. Serv. Pers. & Employees of the Dairy

Indus., Local Union No. 205, 58 F. Supp. 3d 469, 489 (W.D. Pa. 2014) (granting

summary judgment on negligent retention claim where none of the alleged assaults




                                          6
       Case 3:20-cv-02039-JPW Document 9-1 Filed 11/23/20 Page 7 of 15




occurred on the defendant employer’s premises, but instead occurred on another

company’s property or on a public road).

      As a result, the Court must dismiss the negligent retention claim as a matter

of law, with prejudice.

II.   Count V: Mr. Skalde cannot establish loss of consortium because it is
      derivative of Mrs. Skalde’s legally insufficient negligent retention claim.
      In Pennsylvania, a loss of consortium means a loss of the company, society,

cooperation, affection, and aid of a spouse in every conjugal relation. Thomas v.

Shutika, 2012 U.S. Dist. LEXIS 130784 *7 (M.D. Pa. Aug. 24, 2012). A husband

who suffers a loss of consortium does not himself sustain physical injury, but rather,

damaged marital expectations as a result of the injuries to his wife. Id.

      Loss of consortium claims, however, are derivative in nature and will be

dismissed where the underlying tort claims do not survive. Chapman v. U.S., Civil

No. 3:19-CV-00797, 2020 U.S. Dist. LEXIS 149984, *25 n. 5 (M.D. Pa. Aug. 19,

2020) (J. Wilson) (“Because this court has dismissed all of Plaintiffs’ tort claims

against Defendant United States, Plaintiff Susan Chapman’s loss of consortium

claim against Defendant United States is also properly dismissed”) (citing Banks v.

Int’l Rental & Leasing Corp., 680 F.3d 296, 300 n.6 (3d Cir. 2012)); Farr v.

Northrup Quarry, 4:18-cv-706, 2020 U.S. Dist. LEXIS 198253, *30 n. 9 (Oct. 23,

2020) (J. Wilson) (noting derivative nature of loss of consortium claim); Perloff v.

Transamerica Life Ins. Co., 393 F. Supp. 3d 404, 411 (E.D. Pa. 2019); see also


                                           7
       Case 3:20-cv-02039-JPW Document 9-1 Filed 11/23/20 Page 8 of 15




Sutcliffe v. Bernese, No. 4:19-CV-00317, 2019 WL 3776560, at *3 (M.D. Pa.

Aug. 12, 2019) (internal citation omitted).

       Mrs. Skalde has alleged only one tort claim against the Penguins – negligent

retention of an employee. Because Mrs. Skalde’s negligent retention claim must be

dismissed as a matter of law, no underlying tort claims remain, and Mr. Skalde’s

claim of loss of consortium claim must also be dismissed due to its derivative nature.

Perloff, 393 F. Supp. 3d at 411.

III.   Count IV: Mr. Skalde’s Whistleblower Law claim fails as a matter of law.
       A.    First, Mr. Skalde’s claim is time-barred.
       At the outset, Mr. Skalde did not file his Complaint within the relevant statute

of limitations period. The Whistleblower Law provides that an individual must bring

an action within 180 days of the occurrence of the alleged violation. See 43 Pa.

Cons. Stat. § 1424(a). Pennsylvania state and federal courts have consistently held

that “this time limit is mandatory, and courts have no discretion to extend it.”

O’Rourke v. Pa. Dep’t of Corr., 730 A.2d 1039, 1042 (Pa.Cmwlth. 1999); see also

Vann v. City of Phila., No. 20-1433, 2020 U.S. Dist. LEXIS 132961 *4 (E.D. Pa.

July 28, 2020) (“to allege a claim under the Pennsylvania Whistleblower Law, a

plaintiff must, without exception, file a complaint within 180 days after the alleged

violation occurred”) (emphasis added).

       Taking the facts as alleged by the Skaldes as true, the latest act of alleged

retaliation occurred on May 5, 2020, when Mr. Skalde was informed that his position

                                           8
       Case 3:20-cv-02039-JPW Document 9-1 Filed 11/23/20 Page 9 of 15




was being eliminated due to cutbacks because of the COVID-19 pandemic. Doc. 1

at ¶ 58. Accordingly, for any of Mr. Skalde’s allegations to be timely under the 180-

day statute of limitations, he was required to file his Complaint no later than Sunday,

November 1, 2020, which was extended to Monday, November 2, 2020 by operation

of the Federal Rules of Civil Procedure. The Skaldes did not file their Complaint

until November 3, 2020. Doc. 1. Accordingly, Count V should be dismiss because

it is time-barred.

      B.     Mr. Skalde’s Whistleblower Law claim must be dismissed because
             the Whistleblower Law does not apply to the Penguins.
      Even if Count IV were not time-barred, however, Mr. Skalde’s claim still fails

as a matter of law. The Whistleblower Law provides:

      No employer may discharge, threaten, or otherwise discriminate or
      retaliate against an employee regarding the employee’s compensation,
      terms, conditions, location or privileges of employment because the
      employee or a person acting on behalf of the employee makes a good
      faith report or is about to report, verbally or in writing, to the employer
      or appropriate authority an instance of wrongdoing or waste by a
      public body or an instance of waste by any other employer as
      defined by this act.
See 43 P.S. §1423(a) (2014) (emphasis added).

      The statute makes an explicit distinction between the types of claims that can

be brought against “public bodies” and other “employers,” as those terms are defined

in the Whistleblower Law. Specifically, claims involving “wrongdoing or waste”

can be brought against “public bodies,” while only claims involving “waste” may be



                                          9
      Case 3:20-cv-02039-JPW Document 9-1 Filed 11/23/20 Page 10 of 15




brought against other “employers.”         The Whistleblower Law, however, is

inapplicable to the Penguins, as they are not a “public body” or “employer,” as

defined by the law, nor has Mr. Skalde alleged any instance of “waste.”

   1. The Penguins are not a “public body” under the Whistleblower Law.
      Under the Whistleblower Law, a “public body” is a “body which is created by

Commonwealth or political subdivision authority or which is funded in any amount

by or through Commonwealth or political subdivision authority or a member or

employee of that body.” 43 P.S. §1422.

      Mr. Skalde contends that because the Penguins receive money from the Sports

& Exhibition Authority of Pittsburgh, it qualifies as a “public body” under the

Whistleblower Law. Doc. 1 ¶¶ 16-18, 86. This argument, however, has been

repeatedly rejected by federal courts. The receipt of state or local funding, without

more, is insufficient to transform a private employer into a “public body” subject to

the Whistleblower Law. In Lomaskin v. Siemens Medical Solutions USA, Inc., No.

19-3104, 2020 WL 4036823, *2 (3d Cir. July 17, 2020), the Third Circuit rejected

the argument that the plaintiff’s private employer was a “public body” under the

Whistleblower Law because it received funds from a public body through its contract

with Penn State University. No. 19-3104, 2020 WL 4036823, *2 (3d Cir. July 17,

2020). The Third Circuit “concur[red] with these courts that the phrase ‘funded by

or through’ in 43 Pa. Cons. Stat. § 1422’s definition of ‘public body’ refers to money



                                         10
       Case 3:20-cv-02039-JPW Document 9-1 Filed 11/23/20 Page 11 of 15




‘specifically appropriated by a governmental unit.’” Id. The Third Circuit concluded

that because Siemens did not receive appropriations from Pennsylvania or any of its

political subdivisions, including Penn State, it did not qualify as a public body under

the Whistleblower Law. Id. In short, to qualify as a “public body” under the

Whistleblower Law, the employer must receive funds “specifically appropriated by

a governmental unit.” Id.

      This concern echoes the Superior Court’s hesitancy to expand the

Whistleblower Law to private entities. Indeed, the Superior Court noted that it has

“rejected an attempt to extend the Whistleblower Law to cover private employees.”

Harris v. Moose Lodge, No. 1891 WDA 2013, 2014 WL 10936761, *1 (Pa. Super.

Ct. May 30, 2014) (citing Krajsa v. Keypunch, Inc., 622 A.2d 355, 358 (Pa. Super.

Ct. 1993) (“We are not prepared to expand the coverage of the [Whistleblower Law]

into the private arena.”)).

      In short, courts have repeatedly rejected the exact argument that the Skaldes

now advance because it impermissibly and unreasonably expands the scope of the

Whistleblower Law. Therefore, because the Penguins are not a “public body” under

Pennsylvania’s Whistleblower Law, the Skaldes claim must fail, unless they can

allege that the Penguins are an “employer” under the statute.




                                          11
      Case 3:20-cv-02039-JPW Document 9-1 Filed 11/23/20 Page 12 of 15




   2. The Penguins are not an “employer” under the Whistleblower Law.
      Under the 2014 Amendment, an “employer” is defined as “any of the

following which receives money from a public body to perform work or provide

services relative to the performance of work for the provision of services to a public

body: (1) An individual; (2) a partnership; (3) an association; (4) a corporation for

profit; or (5) a corporation not for profit.” See 43 P.S. §1422.

      Only a subset of private entities, specifically those that either perform work

for or provides services to the Commonwealth or other public bodies, have been

brought within the scope of coverage. See 43 P.S. §1422; Adams v. HCF Mgmt.,

Civil Action No. 18-47, 2018 WL 3388404 at *3 (W.D. Pa. July 12, 2018).

      Although the Penguins are alleged to receive state or local funds to build PPG

Paints Arena, this fact does not render the Penguins an “employer,” as that term is

defined in the Whistleblower Law. Importantly, the legislature did not amend the

law to extend coverage to entities such as sports teams that receive state or local

monies or to any other entities for that matter that receive state funds to carry out

necessary construction.

      The plain language of the statute imposes two interrelated conditions of

applicability: first, the money must come from a public body; and second, the

payment must be in exchange for services provided to or work performed for a

public body. 43 P.S. §1422. Although receiving funds from the Commonwealth to



                                          12
      Case 3:20-cv-02039-JPW Document 9-1 Filed 11/23/20 Page 13 of 15




build a sports arena may meet the first condition, it certain does not meet the second.

Quite simply, the Penguins did not receive their funds to “perform work or provides

services relative to the performance of work …to a public body.” See id. The

Penguins did not perform work or provide services for the Commonwealth; they

instead used the Commonwealth’s funds to build an arena. This type of interaction

does not elevate a private entity to “employer” status, as defined under the statute.

      Because the Whistleblower Law only extends to coverage to entities which

receive public funds in exchange for “perform[ing] work or services relative to the

performance of work for or the provision of services to a public body,” the plain

language of the statute compels the conclusion that it is wholly inapplicable in this

context. Id

      Based on the statutory language, the Penguins are not an “employer” by means

of the Whistleblower Law. Because the Penguins are not an “employer” under

Whistleblower Law, Count IV must be dismissed, with prejudice.

      C.      Even if this Court finds that the Penguins are an “employer” under
              the Whistleblower Law, Mr. Skalde failed to allege any reports of
              “waste.”
      Even if this Court finds that Defendant is an “employer” under the

Whistleblower Law, the Penguins can only be held liable under the Whistleblower

Law for allegations of “waste,” not wrongdoing. 43 P.S. §1423(a). “Waste” is an

“employer’s conduct or omissions which result in substantial waste, abuse, misuse,



                                          13
      Case 3:20-cv-02039-JPW Document 9-1 Filed 11/23/20 Page 14 of 15




destruction, or loss of funds or resources belong to or derived from Commonwealth

or political subdivision sources.” 43 P.S. §1422. The Skaldes’ Complaint is devoid

of any allegations of “waste” by the Penguins. Instead, Mr. Skalde only allege that

he reported an alleged instance of “wrongdoing.” (Compl. ¶ 87).           Because

Mr. Skalde failed to allege any reports whatsoever of “waste” by an “employer,”

The Skaldes have failed to plead a viable Whistleblower Law claim; thus, Count IV

of the Complaint should be dismissed, with prejudice.

                                 CONCLUSION

      For the foregoing reasons, Counts III, IV, and V of the Complaint should be

dismissed with prejudice.    The Complaint’s remaining claims are not against

Lemieux Group, L.P. or Pittsburgh Penguins L.P., and therefore these Defendants

should be dismissed from the civil action. As to Counts I and II of the Complaint,

these proceedings should continue in the ordinary course.

Dated: November 23, 2020

                                      Respectfully submitted,

                                      /s/ Lori Armstrong Halber
                                      Thomas H. Suddath, Jr., Esquire (37811)
                                      Lori Armstrong Halber, Esquire (80762)
                                      1717 Arch Street, Suite 3100
                                      Philadelphia, PA 19103
                                      Tel: (215) 851-8100
                                      tsuddath@ReedSmith.com
                                      larmstronghalber@reedsmith.com
                                      Counsel for Defendants Lemieux Group, L.P.
                                      and Pittsburgh Penguins L.P.

                                        14
      Case 3:20-cv-02039-JPW Document 9-1 Filed 11/23/20 Page 15 of 15




                         CERTIFICATE OF SERVICE

      I, Lori Armstrong Halber, hereby certify that on this 23rd day of November,

2020, a true and correct copy of this Memorandum in Support of Motion Seeking

Partial Dismissal of Complaint was filed electronically and served upon the

following counsel of record via the Court’s ECF system and the individual defendant

via mail:

                          Michael D. Homans, Esquire
                              Homans Peck, LLC
                           134 North Wayne Avenue
                              Wayne, PA 19087
                                (215) 419-7463
                          mhomans@homanspeck.com

                              Attorneys for Plaintiffs

                                Clark Donatelli
                               21 Peckham Ave
                              Wakefield, RI 02879

                                    Defendant



                                                    /s/ Lori Armstrong Halber
                                                    Lori Armstrong Halber, Esquire
